Case 2:19-cv-05979-PA-MAA Document 10-1 Filed 07/18/19 Page 1 of 7 Page ID #:104




         EXHIBIT 1
Case 2:19-cv-05979-PA-MAA Document 10-1 Filed 07/18/19 Page 2 of 7 Page ID #:105
Case 2:19-cv-05979-PA-MAA Document 10-1 Filed 07/18/19 Page 3 of 7 Page ID #:106
Case 2:19-cv-05979-PA-MAA Document 10-1 Filed 07/18/19 Page 4 of 7 Page ID #:107
Case 2:19-cv-05979-PA-MAA Document 10-1 Filed 07/18/19 Page 5 of 7 Page ID #:108
Case 2:19-cv-05979-PA-MAA Document 10-1 Filed 07/18/19 Page 6 of 7 Page ID #:109
Case 2:19-cv-05979-PA-MAA Document 10-1 Filed 07/18/19 Page 7 of 7 Page ID #:110
